18-08245-rdd         Doc 51    Filed 01/16/20 Entered 01/16/20 12:17:30             Main Document
                                            Pg 1 of 2



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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                          Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                Case No. 15-23007-RDD
    COMPANY, Inc., et al.,1
                                                    Jointly Administered
                      Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA                Adv. Proc. No. 18-08245-RDD
    COMPANY, INC., et al.,
                      Plaintiffs,                   NOTICE OF DEFENDANTS’
                                                    MOTION FOR LEAVE TO APPEAL
                          v.

    PEPSICO, INC., et al.,
                         Defendants.

             PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support,

dated January 16, 2020, and the Declaration of Joseph D. Frank, dated January 16, 2020, together


1
 The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better,
LLC; A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.;
Delaware County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale
Holdings, Inc.; Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC;
Shopwell, Inc.; Super Fresh Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell
Foods of Conn., Inc.; and Waldbaum, Inc.
18-08245-rdd       Doc 51    Filed 01/16/20 Entered 01/16/20 12:17:30            Main Document
                                          Pg 2 of 2



with the exhibits annexed thereto, Defendants PepsiCo, Inc., Bottling Group, LLC, Frito-Lay

North America, Inc., Quaker Sales and Distribution, Inc., and Muller Quaker Dairy, LLC hereby

move for leave to appeal the Order of the Bankruptcy Court, entered January 2, 2020, denying

their motion for summary judgment on Counts One through Four of the Debtors’ Second Amended

Complaint, pursuant to 28 U.S.C. § 158(a), and for such other and further relief as this Court deems

just and proper.

       PLEASE TAKE FURTHER NOTICE that pursuant to Federal Rule of Bankruptcy

Procedure 8004(b)(2) and Local Civil Rule 6.1(b), opposition papers must be served within

fourteen days after service hereof.

Dated: January 16, 2020                              Respectfully submitted,

                                                     /s/ Jeffrey Chubak
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